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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

Lynne Becker,                                  ) CASE NO: 2:17-cv-3083-PMD
                                               )
                               Plaintiff,      )
                                               )          COMPLAINT
v.                                             )    (JURY TRIAL DEMANDED)
                                               )
American Bankers Insurance Company             )
of Florida,                                    )
                                               )
                               Defendant.      )

        Plaintiff would respectfully show unto the Court as follows:

                                            JURISDICTION

     1. Plaintiff is an individual and resident of Charleston County, South Carolina;

     2. Defendant is a corporation organized and existing under the laws of a State other than
        South Carolina, but doing business in South Carolina;

     3. At all times relevant hereto, Plaintiff’s residence located at 670 N. Stiles Drive in
        Charleston, South Carolina, was insured against flood loss by Defendant, Policy No.
        65005162392016;

     4. The insurance policy at issue provides that all disputes arising from the handling of any
        claim under the Policy are governed exclusively by the flood insurance regulations issued
        by FEMA, the National Flood Insurance Act of 1968, as amended, 42 U.S.C. 4001, et. seq.,
        and federal common law;

     5. Accordingly, the Court has exclusive jurisdiction to hear and determine this action pursuant
        to 42 U.S.C. 4072 and 44 CFR 62.22.

                                    FACTUAL RECITATION

     6. All of the allegations contained above are hereinafter incorporated as if they had been set
        forth herein verbatim;

     7. On October 8, 2016, Plaintiff’s home was severely damaged by Hurricane Matthew, a
        named Category 2 storm, which hit the South Carolina Coast;

     8. Plaintiff’s residence abuts a body of water that overflowed and flooded her property during
        Hurricane Matthew;
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9. As a result of the flood, Plaintiff’s residence experienced “direct physical loss by or from
   flood” as defined by the policy, as follows:

    Flood, as used in this flood insurance policy, means:

    1. A general and temporary condition of partial or complete inundation of two or more
       acres of normally dry land area or of two or more properties (one of which is your
       property) from:

            a. Overflow of inland or tidal waters;

            b. Unusual and rapid accumulation of runoff of surface waters from any source;
            c. Mudflow.

    2. Collapse or subsidence of land along the shore of lake or similar body of water as a
       result of erosion or undermining caused by waves or currents of water exceeding
       anticipated cyclical levels that result in a flood as defined in A.1.a above.

10. Due to the flooding, Plaintiff’s residence experienced significant damages to include, but
    not limited to: walls, appliances, drywall, flooring, cabinets, countertops, doors, HVAC
    unit, and bathroom, along with substantial structural damage to the foundation;

11. Despite repeated demands, Defendant has failed and refused to indemnity Plaintiff for all
    of her losses;

12. Plaintiff has lost the beneficial use and enjoyment of her residence due to Defendant’s
    refusal to pay for needed repairs and resultant inability to commence the needed repairs.


                           FOR A FIRST CAUSE OF ACTION
                                (Declaratory Judgment)

13. All of the allegations contained above are hereinafter incorporated as if they had been set
    forth hereinafter verbatim;

14. Plaintiff asks the Court to declare that the insurance contract at issue provides coverage for
    the damages claimed herein;

15. In the alternative, Plaintiff asks the Court to find the insurance contract at issue is
    ambiguous and, thus, should be construed against the insurer;

16. Plaintiff is entitled to an award of attorney’s fees.




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                             FOR A SECOND CAUSE OF ACTION
                                    (Breach of Contract)

   17. All of the allegations contained above are hereinafter incorporated as if they had been set
       forth hereinafter verbatim;

   18. Defendant’s conduct constitutes a breach of the insurance contract;

   19. Plaintiff is entitled to an award of actual damages for the breach.

WHEREFORE, Plaintiff prays for actual damages in an amount to be determined by this court,

together with an award of reasonable attorney’s fees.



                                             Respectfully Submitted,

                                      By:    s/George J. Kefalos
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Charleston, South Carolina
Dated: November 14, 2017




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